
385 Mich. 621 (1971)
189 N.W.2d 41
PEOPLE
v.
SIMS
PEOPLE
v.
PERRY
No. 20 June Term 1971, Docket No. 52,831.
Supreme Court of Michigan.
Decided August 27, 1971.
Certiorari denied April 17, 1972.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, William L. Cahalan, Prosecuting Attorney, Dominick R. Carnovale, Chief, Appellate Department, and Luvenia D. Dockett, Assistant Prosecuting Attorney, for the people.
*622 Arthur J. Tarnow (State Appellate Defender), for defendants on appeal.
Certiorari denied by United States Supreme Court April 17, 1972.
BLACK, J. (for summary affirmance).
When the application for leave to review People v. Sims (23 Mich App 194) came to consideration and discussion last year, I thought the opinion of Division 1 so right both of reasoning and result as to justify an open dissent against grant of the application. That was done by note appended to the Court's order of grant. See 384 Mich 780.
Formal submission of the appeal granted leaves me the more impressed that no error, reversible or otherwise, was or now is disclosed. I would adopt the opinion of Appeals Judge V.J. BRENNAN and therefore vote for summary affirmance.
ADAMS, T.E. BRENNAN, SWAINSON and WILLIAMS, JJ., concurred with BLACK, J.
T.M. KAVANAGH, C.J., and T.G. KAVANAGH, J., concurred in the result.
